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                                    UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

 ALBERTA SHAW                                        §
                                                     §
           Plaintiff,                                §
                                                     §
 v.                                                  §         Civil Action No. 4:24-CV-00313
                                                     §             Judge Charles Eskridge
 GREGORY FUNDING, LLC,                               §
                                                     §
                                                     §
           Defendants.                               §

                                   JOINT STIPULATION OF DISMISSAL

           COMES NOW, Plaintiff Alberta Shaw (“Plaintiff”) and Gregory Funding, LLC

(“Defendant”) (collectively the “Parties”) and files this Joint Stipulation of Dismissal pursuant to

Tex. R. Civ. P. 41(a)(1)(A)(ii). The Parties state they have agreed to dismiss the above-captioned

lawsuit, with prejudice.

           WHEREFORE, PREMISES CONSIDERED, the Parties request that the Court close this

matter on its docket.

           Dated: March 26, 2024,


                                               Respectfully Submitted,

                                               By:       /s/Shawnika L. Brooks
                                                         Shawnika L. Brooks
                                                         State Bar No. 24106058
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                                                    ATTORNEYS FOR DEFENDANT

                                                    AND

                                                    /s/Erick DeLaRue (with permission) ____
                                                    Erick DeLaRue
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                                                    State Bar No. 24103505
                                                    2800 Post Oak Boulevard, Suite 4100
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                                                    Tel. 713-899-6727
                                                    Email: erick.delarue@delaruelaw.com
                                                    ATTORNEY FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of March 2024, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
to the following:

via E-service: erick.delarue@delaruelaw.com
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ATTORNEY FOR PLAINTIFF

                                                    /s/ Shawnika L. Brooks
                                                    Shawnika L. Brooks




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